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FEB 2°B 2002

RICHARD W. WIEKING
CLERK, U.S. DISTRICT COURT
NORTHERN DISTRICT OF SALIFORMIA
SAN JOSE

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

DAVID ESCO WELCH,

Petitioner,

JEANNE WOODFORD, Warden,

Respondent.

 

 

SAN JOSE DIVISION

NO. €-00-26242-RMW

ORDER GRANTING MOTION FOR
WITHDRAWAL OF COUNSEL

C.:

On January 28, 2002, the court received a confidential motion, filed under seal, for the

withdrawal of one of petitioner's appointed counsel in this case, Darlene Ricker. The motion was

filed by petitioner's appointed co-counsel, Stephanie Ross, and requests that the court permit attorney

Ricker to withdraw from her representation of petitioner in this case. Ms. Ross also requests that the

court appoint substitute counsel to replace Ms. Ricker. On February 1, 2002, the court received a

confidential statement of non-opposition, also filed under seal, from attorney Ricker regarding the

motion to withdraw.

Based on all papers filed to date, the court finds that it is in the best interests of petitioner to

 
 

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grant the motion and to permit attorney Ricker to withdraw as attorney of record for petitioner in this
case, By granting the motion to permit attomey Ricker to withdraw, however, the court makes no
findings and expresses no opinion regarding the accuracy of the representations made by either
counsel in this case. Rather, the court finds that irreconcible differences have arisen between
petitioner's counsel and that the interests of justice, and of petitioner, are best served by permitting
attorney Ricker to withdraw in this case.

The court will meet and confer with attorney Ross to discuss appropriate substitution of

counsel in this case on Friday, March 15, 2002 at 2:00 p.m.

patep: FEB 27 2002

 

RONALD M. WHYTE

United States District Judge

 
 

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Copies of this order have been mailed to:

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Rucker & Mercado

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Catherine A. Rivlin

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cc fo:
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it, Suite 1800
coo, CA 94105

 

 

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